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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

OMAR TAYLOR,
                                              Case No. 18-cv-00712
        Plaintiff,
                                              The Honorable Gordon J. Quist
v.

SPEEDWAY, LLC,

A Foreign for Profit Limited
Liability Company,

     Defendant.
__________________________________________________________________/

        STIPULATION AND ORDER TO SET ASIDE DEFAULT AND
     REGARDING THE PARTIES’ INTENT TO MEDIATE, AND STAY OF
                         PROCEEDINGS

        This matter having come before the Court upon stipulation of Plaintiff, Omar

Taylor (“Plaintiff”), and Defendant Speedway LLC (“Speedway”), and the Court

otherwise being fully advised in the premises:

        IT IS HEREBY ORDERED that the Default – Request, Affidavit, and Entry,

entered on June 25, 2018 is set aside for good cause pursuant to Rule 55 of the

Federal Rules of Civil Procedure.

        IT IS HEREBY ORDERED that the Parties will work toward a resolution of

this case and will take all steps necessary to promptly schedule and participate in
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non-binding mediation. The parties will notify the Court within 60 days regarding

the result of mediation or other settlement negotiations.

      IT IS HEREBY ORDERED that a stay of discovery and all other proceedings

will be in effect for 60 days in order for the Parties to continue with settlement

negotiations, including possible mediation.

      SO ORDERED.
                                 ____________________________________
                                    /s/ Gordon J. Quist
                                 Honorable Gordon J. Quist

Dated: July 6, 2018


The Parties, by their respective counsel, hereby stipulate to entry of the foregoing
Order.

                                       MICHIGAN HEALTH LAWYERS PLLC
                                       Attorneys for Plaintiff

Dated: July 3, 2018                    By: /s/ Nicholas V. Dondzila
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                                       MILLER, CANFIELD, PADDOCK and
                                       STONE, PLC
                                       Attorneys for Defendant

Dated: July 3, 2018                    By: /s/ Amy M. Johnston
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